Case 18-30881-MBK          Doc 56      Filed 10/28/21 Entered 10/28/21 14:19:30                  Desc Main
                                      Document      Page 1 of 1


   Form 210B (12/09, as revised 1/4/17)

                       United States Bankruptcy Court
                       District Of 1HZ-HUVH\
   In re ______________________________,
         Dorothy R. Lodato                         Case No. ________________
                                                             18-30881




        NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   Claim No. _____
                4 (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
   alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
   Other than for Security in the clerk’s office of this court on ________________________.
                                                                          10/26/2021

   Community Loan Servicing, LLC                                       CSMC 2021-RPL8 Trust Serviced by Select Port
   Name of Alleged Transferor                                          Name of Transferee

   Address of Alleged Transferor:                                      Address of Transferee:
   Community Loan Servicing, LLC                                       Select Portfolio Servicing, Inc.
   4425 Ponce De Leon Blvd., 5th Floor                                 PO Box 65250
   Coral Gable, FL 33146                                               Salt Lake City, UT 84165

                                ~~DEADLINE TO OBJECT TO TRANSFER~~
   The alleged transferor of the claim is hereby notified that objections must be filed with the court
   within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
   court, the transferee will be substituted as the original claimant without further order of the court.




   Date:______________________
         10/28/2021                                                 Jeanne A. Naughton
                                                                   CLERK OF THE COURT
